 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
 GOVERNMENT EMPLOYEES INSURANCE
 COMPANY, GEICO INDEMNITY COMPANY, GEICO
 GENERAL INSURANCE COMPANY and GEICO                                             Docket No.: 1:22-cv-06158-HG
 CASUALTY COMPANY,

                               Plaintiffs,

                  -against-

ANDREW DAVY, M.D., BIG APPLE MEDICAL
SERVICES, P.C., BIG APPLE MEDICAL SERVICES
D/B/A HOURGLASS MEDICAL SERVICES, ERIC ST.
LOUIS, 1 BROOKLYN CONSULTING GROUP INC.,
PRECISE WELLCARE SERVICES, INC., LAKAYE
SOCIAL & HUMAN SERVICES, LLC; and JOHN DOE
DEFENDANTS “1” through “10”,

                                  Defendants.
-----------------------------------------------------------------------X

                 THE DAVY DEFENDANTS’ OPPOSITION STATEMENT
             TO PLAINTIFFS’ STATEMENT PURSUANT TO LOCAL RULE 56.1

         Defendants Andrew Davy, M.D. (“Dr. Davy”), Big Apple Medical Services, P.C. and Big

 Apple Medical P.C. doing business as Hourglass Medical Services (collectively, “the Davy

 Defendants” or “Defendants”) by and through their undersigned attorneys, respectfully submit,

 pursuant to Fed. R. Civ. P. 56, Local Civil Rule 56.1 and Sections IV.A.5 and IV.B.7 of the

 Individual Practices of The Hon. Hector Gonzalez, the following responses in opposition to the

 Local Rule 56.1 Statement submitted by Plaintiffs (sometimes also collectively referred to herein

 as “GEICO”).*




 *
  Each numbered paragraph is a direct quote of the corresponding paragraph submitted as Plaintiffs’ Rule 56.1
 Statement. (Plaintiffs’ counsel provided the MS Word file of their Rule 56.1 Statement for that purpose.) Each
 numbered paragraph is followed by the Davy Defendants’ Response to the same.
I.     The Defendants

      1.      Defendant Andrew Davy, M.D. (“Davy”) was, at all relevant times, a resident of

New York, and was licensed to practice medicine in the State of New York. See Answer to

Amended Complaint, D.E. 30 (“Amended Answer”), ¶ 33.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      2.      Davy owns Big Apple Medical Services, P.C. (“Big Apple”), Big Apple Medical

Services, P.C. d/b/a Hourglass Medical Services (“Hourglass”)(collectively, the “Davy PCs”). See

Answer to Complaint, D.E. 20 (“Answer”), ¶ 3.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      3.      Big Apple is a New York professional corporation with its principal place of

business in Brooklyn, New York. See Amended Answer, ¶ 34.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      4.      Hourglass is an assumed name for Big Apple with its own tax identification

number. See Amended Answer, ¶ 35.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      5.      Over the last five years, Davy has provided interventional pain medicine and

anesthesia through the Davy PCs. See Deposition of Andrew Davy, M.D. (“Davy Dep.”), 23:16-

19.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      6.      Since 2021, Davy operated the Davy PCs out of 4310 Church Avenue, Brooklyn,

New York. However, he performed anesthesia services at the offices of other doctors. See Davy

Dep., 27:24-25, 28:1-3, 30:20-25.

The Davy Defendants’ Response: The Davy Defendants admit the same.




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       7.        Defendant Eric St. Louis (“St. Louis”) manages medical offices. St. Louis is not a

licensed healthcare professional. See Davy Dep., 22:11; Declaration of Dr. Scott Metzger

(“Metzger Decl.”) ¶____.

The Davy Defendants’ Response: The Davy Defendants admit Dr. Davy’s belief that that St.

Louis manages medical offices, but the Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of rest of this statement.

       8.        St. Louis is the owner of Defendants 1 Brooklyn Consulting Group, Inc. (“1

Brooklyn”), Precise Wellcare Services, Inc. (“Precise”), and Lakaye Social & Human Services,

LLC (“Lakaye”)(collectively, with St. Louis, the “St. Louis Defendants”). St. Louis is also the

owner of Lawrence Chiropractic and Diagnostic Services, P.C. (“Lawrence Chiropractic”). See

Declaration of Michael Vanunu (“Vanunu Decl.”) ¶_____.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       9.        Davy met St. Louis through business fundraising events, was recruited by St. Louis

about a business opportunity and the two became business associate regarding the Davy PCs. See

Davy Dep., 11:15-19, 22:17-20, 57:8-11.

The Davy Defendants’ Response: The Davy Defendants admit the same, except clarify that the

fundraising events were not “business fundraising events” but rather events to raise money for other

purposes (such as political campaigns).

       10.       St. Louis managed the operations of the Davy PCs between May 2021 and March

2022. See Davy Dep., 55:11-57:8.

The Davy Defendants’ Response: The Davy Defendants admit the same.




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      11.       St. Louis managed the medical practices in the name of the Davy PCs, which

provided extra corporeal shockwave therapy services (“ESWT” or “shockwave therapy”),

transcranial doppler testing (“TDT”), and videonystagmus testing (“VNG”) from May 2021 to

March 2022. See Davy Dep., 55:15-56:17; Declaration of Kathleen Asmus (“Asmus Decl.”), ¶ ___.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      12.       Davy ceded control of the Davy PCs’ medical practices to St. Louis, at least as

related to treatment purportedly for ESWT, TDT, and VNG,. See Metzger Decl. ¶____.

The Davy Defendants’ Response: The Davy Defendants deny the same as phrased, but instead,

as stated above, admit that Dr. Davy permitted St. Louis to manage the same.

      13.       When asked if St. Louis offered Davy an opportunity to make money for services

that he would supervise, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 57:19-25.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      14.       When asked if St. Louis propositioned Davy to be in a partnership for money for

services to be billed for No-Fault patients, Davy invoked the Fifth Amendment privilege against

self-incrimination. See Davy Dep., 58:2-15.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an



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assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.



      15.       When asked about the specifics of St. Louis’ control of the Davy PCs, Davy

asserted his Fifth Amendment right against self-incrimination. See Davy Dep., 58:11-19, 62:18-

64:24, 70:2-80:12.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

II.     The Davy PCs’ Bills to GEICO for No-Fault Benefits

      16.       GEICO compiled a search using a tax identification number (“TIN Run”) setting

 forth the information contained on the bills submitted or caused to be submitted to GEICO through

 Defendant Big Apple (tax identification number XX-XXXXXXX) and Hourglass (tax identification

 number XX-XXXXXXX). See Asmus Decl., ¶ ___.

 The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

 Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an




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 assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

 an improper statement of alleged evidence to which no response is required.

       17.        Between May 2021 and March 2022, the Davy PCs billed GEICO more than $1

million seeking to collect no-fault insurance benefits (“No-Fault Benefits”) for ESWT, TDT, and

VNG services listed as being provided to individuals insured by GEICO (“Insureds”). See Asmus

Decl., ¶___.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       18.        When the Davy PCs submitted bills to GEICO, they used New York State No-Fault

 billing forms (“NF Forms”). See Asmus Decl., ¶ ___.

 The Davy Defendants’ Response: The Davy Defendants admit the same.

       19.        Each NF Form submitted to GEICO through the Davy PCs listed (i) the services

 performed which sought payment by identifying the CPT Code, (ii) where the services were

 performed and (iii) who personally performed or directly supervised the services. See Asmus

 Decl., ¶ ____.

 The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

 by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

 sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

 fact, and Plaintiffs are put to their proof.

       20.        In each NF Form submitted to GEICO, Davy and the Davy PCs represented that

 they were eligible to collect No-Fault Benefits as they were in compliance with all New York State

 or local licensing requirements necessary to perform the ESWT, TDT, and VNG services. See

 Asmus Decl., ¶ ___.



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The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      21.       In each NF Form submitted to GEICO, Davy and the Davy PCs represented that

they were entitled to collect No-Fault Benefits for the services performed on Insureds. See Asmus

Decl., ¶ ___.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      22.       In each NF Form submitted to GEICO, Davy and the Davy PCs represented that

the individual identified as the treating provider personally provided or directly supervised the

specific healthcare services identified, by CPT Code, in the NF Form. See Asmus Decl., ¶ ___.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      23.       In each NF Form submitted to GEICO, Davy and the Davy PCs represented that

the specific healthcare services identified, by CPT Code, in the NF Form was performed on the

listed Insured. See Asmus Decl., ¶ ___.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information




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sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      24.       In each NF Form submitted to GEICO, Davy and the Davy PCs represented that

they were entitled to collect No-Fault Benefits because the billed-for healthcare services was

medically necessary for the Insured. See Asmus Decl., ¶ ___._.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      25.       Each NF Form submitted to GEICO by the Davy PCs for ESWT, TDT, and VNG

identified Davy as (i) the person who personally performed or directly supervised the ESWT, TDT,

and VNG services, and (ii) the owner of the Davy PCs. See Asmus Decl., ¶ ____; Declaration of

Jacqueline Thelian (“Thelian Decl.”), ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      26.       Each NF Form submitted to GEICO by the Davy PCs for ESWT, TDT, and VNG

was dated and contained Davy’s name in the “Provider’s signature” section. See Asmus Decl., ¶

____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.



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      27.       Each NF-3 submitted by the Davy PCs to GEICO was verified by Davy subject to

the following warning:

                Any person who knowingly and with intent to defraud any insurance company or
                other person files an application for commercial insurance or a statement of claim
                for any commercial or personal insurance benefits containing any materially false
                information, or conceals for the purpose of misleading, information concerning any
                fact material thereto, . . . commits a fraudulent insurance act, which is a crime.

See Asmus Decl., ¶ ____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

      28.       The NF Forms submitted to GEICO state that ESWT, TDT, and VNG, were

performed by Davy on behalf of the Davy PCs from the following locations:

     Treatment Address              Treatment          Davy PC                 Service Type
                                     Location
 240-19 Jamaica Avenue            Queens          Hourglass               ESWT
 7945 Metropolitan Avenue         Queens          Hourglass               ESWT
 2354 Westchester Avenue          Bronx           Hourglass               ESWT
 3027 Avenue V                    Brooklyn        Hourglass, Big Apple    ESWT, TDT, and VNG
 14 North Main Street             Spring Valley   Hourglass, Big Apple    ESWT
 3027 Utica Avenue                Brooklyn        Hourglass               ESWT
 4009 Church Avenue               Brooklyn        Hourglass, Big Apple    ESWT
 3805 Church Avenue               Brooklyn        Hourglass, Big Apple    ESWT
 1 Fulton Avenue                  Nassau          Hourglass, Big Apple    ESWT
 156 Dolson Avenue                Middletown      Hourglass, Big Apple    ESWT
 1122 Coney Island Avenue         Brooklyn        Hourglass, Big Apple    ESWT, TDT, and VNG
 1847 Utica Avenue                Brooklyn        Hourglass, Big Apple    ESWT, TDT, and VNG
 280 Broadway                     Newburgh        Hourglass, Big Apple    ESWT
 9205 Rockaway Blvd               Queens          Big Apple               TDT and VNG
 1650 Eastern Pkwy                Queens          Big Apple               ESWT
 8555 Little Neck Pkwy            Queens          Big Apple               TDT and VNG
 420 Doughty Blvd                 Inwood          Big Apple               ESWT, TDT, and VNG

See Asmus Decl., ¶ ____.




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 The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

 by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

 sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

 fact, and Plaintiffs are put to their proof.

       29.       The NF Forms submitted to GEICO from the Davy PCs did not reference or

otherwise indicate St. Louis’s involvement with the Davy PCs. See Asmus Decl., ¶ ____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       30.       The NF Forms submitted to GEICO from the Davy PCs for ESWT, TDT, and VNG

included medical records purporting to support the charges by representing that the ESWT, TDT,

or VNG services were performed on Insureds. See Metzger Decl., ¶___; Thelian Decl., ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       31.       The medical records attached to the bills to GEICO from the Davy PCs represented

that the ESWT, TDT, and VNG services were performed by Davy because they included Davy’s

signature. See Metzger Decl., ¶____; Thelian Decl., ¶ ___.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.



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       32.       However, all of Davy’s signatures on the medical records attached to the bills were

not legitimate, as the records were not authored or signed by Davy. See Metzger Decl., ¶____;

Thelian Decl., ¶ ___.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       33.       All of the signatures on the medical records containing Davy’s name appear to have

been pre-printed as they are identical and have the same exact letter shape and ink pressure. See

Metzger, Decl. ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       34.       Davy did not personally perform or actually supervise any of the services, listed as

ESWT, TDT, or VNG, performed on GEICO-insureds. See Thelian Decl., ¶___; Metzger Decl., ¶

______.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

       35.       When asked if Davy signed any documents that were given to him by St. Louis as

 it relates to the services billed through the Davy PCs, Davy invoked the Fifth Amendment privilege

 against self-incrimination. See Davy Dep., 88:25-89:23.




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The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      36.       When asked if Davy had conversations with St. Louis regarding the performance

of shockwave therapy through the Davy PCs, Davy invoked the Fifth Amendment privilege against

self-incrimination. See Davy Dep., 87:14-88:11.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      37.       When asked if Davy ever performed shockwave therapy, radial wave pressure

therapy, TDT, or VNG through the Davy PCs, Davy invoked the Fifth Amendment privilege against

self-incrimination. See Davy Dep., 41:6-9, 41:24-25, 42:2-14, 43:5-19, 44:18-25, 45:2-12.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-



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incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

       38.      When asked if Davy performed any services, looked at any medical records, or saw

a single patient at any location through the Davy PCs from 2021 through 2023, Davy invoked the

Fifth Amendment privilege against self-incrimination. See Davy Dep., 59:7-60:18.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

III.    Operation of Davy PCs and Lack of Medical Necessity for the Fraudulent Services

       39.      Davy entered into agreements where he retained law firms including the Law

Offices of Gabriel & Moroff, P.C. (“G&M”), the Law Offices of Gill Schapira, P.C. (“Schapira

PC”), and Korsunskiy Legal Group P.C. (“KLG”) to submit and collect No-Fault Benefits from

automobile insurers on behalf of the Davy PCs. See Davy Dep., Exs. 5, 25, 27, 32, 101:20-102:22,

183:15-186:13, 197:6-199:6, 233:25-234:14; Deposition of Jason Moroff (“Moroff Dep.”), 9:24-

10:13; Deposition of Denis Korsunskiy (“Korsunskiy Dep.”), 13:7-14:16, 14:24-15:3.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.




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       40.       KLG submitted bills to GEICO on behalf of Davy and Hourglass. See Asmus Decl.,

¶ _______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       41.       Denis Korsunskiy (“Korsunskiy”), the principal of KLG, met with Davy in April

or May of 2021 when Davy retained KLG to provide services related to submitting and collecting

No-Fault Benefits. After that meeting, Korsunskiy did not see Davy again. See Korsunskiy Dep.,

13:7-16:8.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

       42.       During the meeting Davy indicated to Korsunskiy that he would be performing

“shockwave therapy” that would be billed by KLG. In addition, Davy performed VNG and TDT

services that were billed to insurers. See Korsunskiy Dep., 38:9-39:22.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

       43.       KLG used a third-party company to create the bills that were ultimately submitted

to No-Fault insurers. See Korsunskiy Dep., 32:17-35:2.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.




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       44.       G&M submitted bills to GEICO on behalf of Davy and Big Apple. See Asmus

Decl., ¶ ___.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       45.       RP Billing performed billing services for the Davy PCs from July 2021 to

November 2021. RP Billing created the NF Forms on behalf of Big Apple and then sent the NF

Forms to G&M who would send the bills to GEICO. See Deposition of Inna Zarester (“Zarester

Dep.”), 20:4-21:13.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       46.       RP Billing was able to generate the NF Forms because St. Louis dropped off paper

records for Big Apple. See Zarester Dep., 33:2-4, 34:23-35:2.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       47.       The NF Forms RP Billing generated on behalf of Big Apple were for ESWT, TDT,

and VNG services purportedly provided to Insureds, and listed Davy as the treated provider. See

Zarester Dep., Exs. 7, 9, 11, 57:4-16, 64:5-65:8, 66:3-9.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.



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       48.       Davy provided RP Billing with the information needed to bill No-Fault insurers, by

giving RP Billing Big Apple’s name, its tax identification number, and told RP Billing to use

Davy’s name as the treating provider on all of the bills. See Zarester Dep., 61:7-17.

The Davy Defendants’ Response: The Davy Defendants deny the same.

       49.       Davy was aware of the CPT codes included in the NF Forms as he discussed the

services he rendered and the CPT codes with RP Billing. See Zarester Dep., 25:7-18.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       50.       Davy specifically directed RP Billing what CPT codes he wanted on the bills that

RP Billing was generating. See Zarester Dep., 57:3-13, 66:4-8.

The Davy Defendants’ Response: The Davy Defendants deny the same.

       51.       The purported ESWT, TDT, or VNG services were actually performed on Insureds

by technicians, who were not licensed healthcare providers. See Metzger Decl., ¶____; Thelian

Decl., ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       52.       The NF Forms submitted to GEICO by the Davy PCs did not identify any

technicians who performed ESWT, TDT, or VNG. See Asmus Decl., ¶ ____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information



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sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       53.       When asked what the technicians were supposed to do and what services they

performed, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy

Dep., 116:7-117:2.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

       54.       Davy was aware that all the services billed through the Davy PCs were performed

by technicians. See Davy Dep., 54:13-55:4.

The Davy Defendants’ Response: The Davy Defendants admit the same, based on statements

made to Dr. Davy by St. Louis. However, due to the nature and scope of the fraud apparently

committed by St. Louis unbeknownst to Dr. Davy, the Davy Defendants lack knowledge or

information sufficient to form a belief as to the truth of anything that St. Louis told Dr. Davy.

       55.       Midwood Solutions (“Midwood”) is a medical technician company that provided

services for Big Apple. See Deposition of Yevhen Musayelyan (“Musayelyan Dep.”), 16:23-17:3,

21:3-11.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.



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       56.       St. Louis discussed with Midwood about providing shockwave therapy for Big

Apple. See Musayelyan Dep., 21:15-22:16; 23:12-17.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       57.       Yevhen Musayelyan (“Musayelyan”), who is the owner of Midwood and a

shockwave technician, never spoke with or met Davy. See Musayelyan Dep., 10:23-11, 17:24-18:6.

The Davy Defendants’ Response: The Davy Defendants admit the same, but clarify that Dr. Davy

does not know Musayelyan or what businesses he owns.

       58.       St. Louis instructed Midwood how many patients to see each day and where to

perform services on behalf of Big Apple. See Musayelyan Dep., 22:17-23:11, 31:19-32:6.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       59.       St. Louis provided Midwood with blank “ESWT Notes” forms and blank

Assignment of Benefits forms that contained Davy’s previously affixed signature. See Musayelyan

Dep., Ex. 3, 33:6-34:8.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       60.       St. Louis paid Midwood for its services on behalf of Big Apple with checks from 1

Brooklyn and Precise. See Musayelyan Dep., Ex. 6, 40:11-17.




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The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

         61.     St. Louis handled the day-to-day operations for the Davy PCs. See Deposition of

Yakov Khodazyev (“Khodazyev Dep.”), 72:5-19.

The Davy Defendants’ Response: The Davy Defendants admit the same with respect to the time

period and services set forth above, as to management services. However, due to the nature and

scope of the fraud apparently committed by St. Louis unbeknownst to Dr. Davy, the Davy

Defendants lack knowledge or information sufficient to form a belief as to what St. Louis was

doing.

         62.     When asked whether St. Louis hired technicians on behalf of the Davy PCs, Davy

invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep., 117:3-118:5.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

         63.     When asked whether Davy hired any of the technicians who performed services on

behalf of the Davy PCs, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 118:19-119:8.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an



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assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

       64.       Midwood used a machine called Chattanooga Intelect Mobile 2 RPW device (the

“RPW Device”) to perform “shockwave” services on behalf of Big Apple. See Musayelyan Dep.,

26:22-28:3.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       65.       The RPW device is unable to perform ESWT. See Metzger Decl., ¶____,

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       66.       Instead, the RPW device provides radial pressure wave therapy (“RPW Therapy”),

which is remarkably different than ESWT and does not fall within the scope of CPT Code 0101T,

which is the CPT Code the Davy PCs used to bill GEICO for ESWT. See Metzger Decl., ¶____;

Thelian Decl., ¶____.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

       67.       RPW Therapy and ESWT are two separate and distinct healthcare services. See

Metzger Decl., ¶____; Thelian Decl., ¶____.



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The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged opinion to which no response is required.

       68.       Each NF Form to GEICO for ESWT falsely represented that ESWT was provided

to an Insured. See Metzger Decl., ¶____; Thelian Decl., ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       69.       No Insureds actually received ESWT from the Davy PCs. All “shockwave services”

actually performed on Insureds, which were billed to GEICO as ESWT, were actually RPW

Therapy. See Metzger Decl., ¶____; Thelian Decl., ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       70.       All the charges from the Davy PCs for ESWT, although only RPW Therapy, were

not medically necessary for the Insureds. See Metzger Decl., ¶____.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged opinion to which no response is required. However, due to the

nature and scope of the fraud apparently committed by St. Louis unbeknownst to Dr. Davy, the



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Davy Defendants lack knowledge or information sufficient to form a belief as to the truth of this

statement to the extent it is factual.

       71.       Each NF Form submitted to GEICO in the name of the Davy PCs, falsely

represented that Davy personally performed or directly supervised ESWT performed on Insureds.

See Metzger Decl., ¶____; Thelian Decl., ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       72.       Each NF Form submitted to GEICO in the name of the Davy PCs also falsely

represented that Davy personally performed or directly supervised TDT and VNG services on

Insureds. See Metzger Decl., ¶____; Thelian Decl., ¶____.

The Davy Defendants’ Response: Due to the nature and scope of the fraud apparently committed

by St. Louis unbeknownst to Dr. Davy, The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact,

and Plaintiffs are put to their proof.

       73.       Instead, to the extent that any TDT or VNG was actually performed, it was

performed without Davy’s involvement. See Metzger Decl., ¶____; Thelian Decl., ¶____.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

       74.       All the charges from the Davy PCs for TDT and VNG were not medically necessary

for the Insureds. See Metzger Decl., ¶____.




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The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged opinion to which no response is required.

       75.       Davy was not properly trained to perform, supervise, or interpret the services billed

as VNG and TDT. See Metzger Decl., ¶____.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged opinion to which no response is required.

       76.       To the extent that any ESWT, RPW Therapy, TDT, and VNG were performed, they

were medically unnecessary and were provided as part of a predetermined treatment protocol

without any apparent regard for the patients’ individual treatment strategy. See Metzger Decl.,

¶____; Thelian Decl., ¶____.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged opinion to which no response is required. However, due to the

nature and scope of the fraud apparently committed by St. Louis unbeknownst to Dr. Davy, the

Davy Defendants lack knowledge or information sufficient to form a belief as to the truth of this

statement to the extent it is factual.

       77.       When asked if Davy ever reviewed any reports regarding services performed by

technicians for treatment, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 119:9-120:15.



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The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      78.       Davy has a signature stamp that he keeps at his office. When asked if he gave the

stamp to St. Louis, Davy invoked the Fifth Amendment privilege against self-incrimination. See

Davy Dep., 83:6-14; 88:18-24.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      79.       When asked if St. Louis controlled the treatment of patients though the Davy PCs

at each location, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy

Dep., 67:21-80:12.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-



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incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

 IV.     Financing and Profits of the Fraudulent Scheme

       80.       Davy retained The Rybak Firm PLLC (“Rybak Firm”), and its principal, in March

of 2020 to perform No-Fault collections on behalf of the Davy PCs. See Deposition of Oleg Rybak

(“Rybak Dep.”), 19:21, 23:23-24:24.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

       81.       Davy signed a payment directive for the Rybak Firm that provided the Ryak Firm

with the right to pay 1 Brooklyn, or any other entity directed by Davy and/or his agents, with all

monies the Rybak Firm collected on behalf of Big Apple, minus the Rybak Firm’s fees. See Rybak

Dep., Ex. 3, 29:9-30:10.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

       82.       The Rybak Firm’s involvement with Davy and Big Apple involved depositing

checks issued to Big Apple and then distributing them to the St. Louis and his entities, as directed

by St. Louis. See Rybak Dep., Exs. 6-11, 13, 86:2-99:2.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.




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      83.        Davy, on behalf of Big Apple entered into funding agreements with Global

Strategic Group Inc. (“Global Strategic”), Maryik Inc. (“Maryik”), Quest Pro Capital LLC (“Quest

Pro”), RJ Capital Debt LLC (“RJ Capital”), New Pacific Inc. (“New Pacific”), Big Bridge Funding

LLC. (“Big Bridge”), and East Brook Holding Companies (“East Brook”) (collectively, the

“Funders”). See Davy Dep., Exs. 3, 5, 8, 10, 89:24-90:18, 150:23-158:14; Vanunu Decl., ¶_____.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

      84.        Based on the funding agreements, Funders issued monies (referred to as

“advances”) to Big Apple, related to claims submitted to insurance companies, at a discount, in

exchange for the right to collect payments issued to Big Apple from insurance companies. See

Khodazyev Dep., 15:5-16:2; Deposition of Emil Efrem (“Efrem Dep.”), 23:15-24:3-8.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      85.        Khodazyev, the owner of New Pacific, was introduced to Davy through St. Louis.

Davy confirmed to Khodazyev that he was going to perform “shockwave therapy” and agreed to

borrow money from New Pacific. See Khodazyev Dep., 16:18-24, 72:20-73:11.

The Davy Defendants’ Response: The Davy Defendants deny the same.

      86.        Davy signed the funding agreement between Big Apple and New Pacific. See Davy

Dep., Ex. 3, 91:17-93:18.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.



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     87.        Related to the funding agreement with New Pacific, Davy signed a payment

directive that provided G&M with the right to pay New Pacific all monies G&M collected and

deposited into escrow on behalf of Big Apple, minus G&M’s fees. See Davy Dep., Ex. 5, 101:20-

102:22.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

     88.        New Pacific issued five checks to Big Apple, based on the funding agreement. Four

of the checks, Check No. 2172 for $116,698.05, Check No. 2202 for $42,000.00, Check No. 2208

for $30,167.07, and Check No. 2296 for $145,488.06 were deposited two Valley National Bank

accounts belonging to The Rybak Firm PLLC (“Rybak Accounts”). See Khodazyev Dep., Ex. 11;

Deposition of Oleg Rybak (“Rybak Dep.”), Ex. 11, 74:11-76:16; Vanunu Decl. ¶_____.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     89.        One check, Check No. 2297 for $7,500.00 was issued by New Pacific to Big Apple

and was deposited into Big Apple’s TD bank account. See Vanunu Decl. ¶ _____; Davy Dep., Ex.

13, p. 5.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     90.        Davy did not personally receive any checks issued to the Davy PCs from New

Pacific and did not know if New Pacific gave them to St. Louis. See Davy Dep., 100:3-11.

The Davy Defendants’ Response: The Davy Defendants admit the same.



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     91.        St. Louis typically was the person who picked-up funding advance checks issued

to Big Apple from New Pacific. See Khodazyev Dep., 85:13-86:8.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     92.        Davy did not authorize anyone to deposit the checks from New Pacific into the

Rybak Accounts at Valley National Bank. See Davy Dep., 110:13-15.

The Davy Defendants’ Response: The Davy Defendants admit the same.

     93.        When asked if all interactions on behalf of Big Apple and New Pacific were done

by St. Louis, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy

Dep., 98:25-99:15.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

     94.        When asked if St. Louis gave Davy the New Pacific funding agreement to sign,

Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep., Ex. 3,

95:13-18.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact



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that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

     95.        When Davy was asked if checks from New Pacific that he endorsed was his cut for

supervising technicians for services performed by Big Apple, Davy invoked the Fifth Amendment

privilege against self-incrimination. See Davy Dep., 114:21-116:6.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

     96.        When asked if Davy was involved in the entering of any agreements between Big

Apple and New Pacific, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 153:24-154:7.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.



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      97.        Khodazyev, the owner of New Pacific, arranged for RJ Capital to provide funding

advances for Big Apple. See Khodazyev Dep., Ex. 8, 69:14-71:10.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      98.        There is a funding agreement between RJ Capital and Big Apple that was signed

 by Davy. See Khodazyev Dep., Ex. 8; Davy Dep., Ex. 8.

 The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

 invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

 accordingly, no further response is provided here.

      99.        Related to the funding agreement with RJ Capital, Davy signed a payment directive

 that provided G&M with the right to pay RJ Capital all monies G&M collected and deposited into

 escrow on behalf of Big Apple, minus G&M’s fees. See Davy Dep., Ex. 9, 135:21-136:11.

 The Davy Defendants’ Response: The Davy Defendants admit the same, but only to the extent

 of admitting that Dr. Davy signed the referenced document. Dr. Davy testified that he did not

 know the purpose of the document.

      100.       RJ Capital issued two checks to Big Apple based on the funding agreement. Check

 No. 1047 was for $17,000.00 and Check No. 1048 was for $27,526.30. Both checks were deposited

 into the Rybak Accounts. See Rybak Dep., Ex. 8, 65:14-66:3; Khodazyev Dep., Ex. 13, 90:21-

 91:10.

 The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

 sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

 fact, and Plaintiffs are put to their proof.




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    101.       Davy did not authorize anyone to deposit the checks from RJ Capital into the Rybak

Accounts at Valley National Bank. See Davy Dep., 139:12-20.

The Davy Defendants’ Response: The Davy Defendants admit the same. Section IV.B.7(b) of

the Individual Practices of The Hon. Hector Gonzalez states that “[e]ach paragraph in the Local

Rule 56.1 statement shall contain an assertion of a material undisputed fact, not a description of

evidence.” (Emphasis added.) The fact that Dr. Davy in an abundance of caution invoked his

Fifth Amendment privilege against self-incrimination presents an evidentiary issue. Accordingly,

the Davy Defendants do not respond to this statement other than to respectfully refer the Court to

the specific question posed by Plaintiffs in response to which Dr. Davy so responded, and not

Plaintiffs’ summary of the same.

    102.       When asked if Davy was involved in the entering of any agreements between the

Davy PCs and RJ Capital, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 154:23-155:5.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    103.       When asked if all of the money issued to the Davy PCs by RJ Capital went to St.

Louis, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep.,

155:13-16.




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 The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

 Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

 assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

 fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

 incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

 this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

 in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      104.       There is a funding agreement between Quest Pro and Big Apple that was signed by

Davy. See Davy Dep., Ex. 6; Khodazyev, Ex. 5, 55:12-56:2.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      105.       Related to the funding agreement with Quest Pro, Davy signed a payment directive

that provided G&M with the right to pay Quest Pro all monies G&M collected and deposited into

escrow on behalf of Big Apple, minus G&M’s fees. See Davy Dep., Ex. 7, 125:22-127:5.

The Davy Defendants’ Response: The Davy Defendants admit only that Dr. Davy signed the

document.

      106.       Quest Pro issued two checks to Big Apple, based on the funding agreement. They

were Check No. 1001 for $41,097.21 and a check with no number for $123,832.61, which were

deposited into the Rybak Accounts. See Khodazyev Dep., Ex. 12, 89:3-13; Rybak Dep., Ex. 10,

71:18-72:12.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.



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      107.     Davy had never received or seen the checks from Quest Pro and was not aware

what they were for. See Davy Dep. 131:3-21.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      108.     Davy did not authorize anyone to deposit the checks from Quest Pro into the Rybak

Accounts at Valley National Bank. See Davy Dep., 131:35-132:9.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      109.     When asked if Davy was involved in the entering of any agreements between Big

Apple and Quest Pro, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 155:21-156:2.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      110.     When asked if all of the money issued to Big Apple by Quest Pro went to St. Louis,

Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep., 156:10-

17.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to



                                                 33
this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

     111.       Davy signed the funding agreement between Big Bridge and Big Apple. See Davy

Dep., Ex. 10, 141:15-143:5.

The Davy Defendants’ Response: The Davy Defendants admit the same.

     112.       Related to the funding agreement with Big Bridge, Davy signed a payment directive

that provided KLG with the right to pay Big Bridge all monies KLG collected and deposited into

escrow on behalf of Big Apple, minus KLG’s fees. See Davy Dep., Ex. 11; 144:10-21; Korsunskiy

Dep., Ex. 5, 68:24-69:22.

The Davy Defendants’ Response: The Davy Defendants admit only that Dr. Davy signed the

document.

     113.       The Big Bridge funding arrangement between Big Apple and Davy was arranged

solely by St. Louis, without the direct involvement of Davy. See Efram Dep., 33:12-36:12.

The Davy Defendants’ Response: Dr. Davy during his deposition in an abundance of caution

invoked his Fifth Amendment privilege against self-incrimination with respect to this issue and,

accordingly, no further response is provided here.

     114.       St. Louis agreed with Big Bridge that all of the billing for Davy would go through

Korsunskiy. See Efram Dep., 39:15-40:9.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     115.       In July of 2021, St. Louis approached Korsunskiy and advised that he would be

bringing KLG batches of claims on behalf of Davy, which would be subjected to funding by Big




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Bridge. Korsunskiy spoke to Davy, who confirmed St. Louis’s statements. See Korsunskiy Dep.,

18:18-20:17.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement, except that Dr. Davy testified that he

does not recall speaking to Korsunskiy.

     116.        Big Bridge issued five checks to Big Apple, based on the funding agreement. Four

of the checks, Check No. 1001 for $20,603.00, Check No. 1003, for $155,473.00, Check No. 1025

for $48,002.00, and Check No. 7691 for $57,828.02 were deposited into the Rybak Accounts. See

Efrem Dep., Exs. 3-4, 60:17-62:7, Rybak Dep., Ex. 9, 67:24-69:16.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     117.        One check, a cashier’s check for $2,617.59 was issued by Big Bridge to Big Apple

and deposited into Big Apple’s TD bank account. See Vanunu Dec., ¶ ____; Efrem Dep., Exs. 3-

4, 60:17-62:7.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     118.        All of the Big Bridge checks issued to Big Apple were directly given to St. Louis,

in person. See Efram Dep., 43:11-19; 61:2-62:14.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.




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    119.       Davy had never received or seen [sic] the checks from Big Bridge and was not

aware what they were for. See Davy Dep. Ex. 16, 159:9-160:3.

The Davy Defendants’ Response: The Davy Defendants admit the same.

    120.       Davy did not authorize anyone to deposit the checks from Big Bridge into the

Rybak Accounts at Valley National Bank. See Davy Dep., 160:7-11.

The Davy Defendants’ Response: The Davy Defendants admit the same.

    121.       When asked if St. Louis gave Davy the Big Bridge funding agreement or the

payment directive to Davy to sign, Davy invoked the Fifth Amendment privilege against self-

incrimination. See Davy Dep., 143:6-147:2.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    122.       When asked if all interactions between Big Bridge and Big Apple were done by St.

Louis, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep.,

150:12-19.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to



                                                 36
this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    123.       When asked if Davy was involved in the entering of any agreements between Big

Apple and Big Bridge, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 150:23-151:6.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    124.       When asked if all of the money issued to the Davy PCs by Big Bridge went to St.

Louis, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep.,

151:13-19.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    125.       Big Apple obtained funding advances from Global Strategic. Specifically, Global

Strategic issued three checks to Big Apple, Check No. 1157 for $19,184.83, Check No. 1160 for



                                                 37
$20,619.55 and Check No. 1163 for $10,698.68, which were all deposited into the Rybak

Accounts. See Rybak Dep., Ex. 7, 61:1-63:24.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    126.       Davy did not authorize anyone to deposit the checks from Global Strategic into the

Rybak Accounts at Valley National Bank. See Davy Dep., 166:17-19.

The Davy Defendants’ Response: The Davy Defendants admit the same.

    127.       When asked if Davy was involved in the entering of any agreements between any

of the Davy PCs and Global Strategic, Davy invoked the Fifth Amendment privilege against self-

incrimination. See Davy Dep., 156:18-24.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.




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     128.       When asked if all of the money issued to the Davy PCs by Global Strategic went to

St. Louis, Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep.,

157:8-15.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

     129.       Big Apple obtained funding advances from Mayrik. Specifically, Mayrik issued

one check to Big Apple, Check No. 531 for $8,841.43, which was deposited into the Rybak

Accounts. See Rybak Dep., Ex. 6, 55:15-56:13, 59:24-60:3.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

     130.       Davy did not authorize anyone to deposit the checks from Mayrik into the Rybak

Accounts at Valley National Bank. See Davy Dep., 167:24-168:3.

The Davy Defendants’ Response: The Davy Defendants admit the same.

     131.       When asked if Davy was involved in the entering of any agreements between the

Davy PCs and Mayrik, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 157:16-22.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an



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assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      132.      When asked if all of the money issued to the Davy PCs by Mayrik went to St. Louis,

Davy invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep., 158:6-

13.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      133.      Big Apple obtained funding advances from Global Strategic. Specifically, Global

Strategic issued five checks, Check No. 1176 for $3,890.00, Check No. 1177 for $4,290.36, Check

No. 1179 for $4,290.36, Check No. 1180 for $3,500.00, and Check No. 1181 for $1,174.49, which

were all deposited into Big Apple’s TD bank account. See Vanunu Decl., ____; Davy Dep., Ex.

18, 164:11-165:9.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.




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    134.       When asked if Davy was involved in the entering of any agreements between the

Davy PCs and East Brook, Davy invoked the Fifth Amendment privilege against self-

incrimination. See Davy Dep., 153:2-8.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    135.       When asked what the checks from East Brook were for, Davy invoked the Fifth

Amendment privilege against self-incrimination. See Davy Dep., Ex. 18, 164:11-165:14

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The

fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

    136.       When asked if these checks were for his cut of his agreement with St. Louis, Davy

invoked the Fifth Amendment privilege against self-incrimination. See Davy Dep., 165:15-21.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The



                                                 41
 fact that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

 incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

 this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

 in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

      137.       In total, more than $885,000.00 in funding advances issued to Big Apple were

 deposited into the Rybak Accounts at Valley National Bank. See Rybak Dep., Exs. 6-11.

 The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

 sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

 fact, and Plaintiffs are put to their proof.

      138.       All of the checks to Big Apple regarding funding advances that were deposited into

 the Rybak Accounts at Valley National Bank was done without Davy’s knowledge. See Davy

 Dep., 179:7-11.

 The Davy Defendants’ Response: The Davy Defendants admit the same.

      139.       Rybak regularly spoke with St. Louis regarding the financial transactions at the

Rybak Firm on behalf of Davy and Big Apple, including whenever funding advance checks were

received by the Rybak Firm on behalf of Big Apple. See Rybak Dep., 25:6-11, 73:2-6, 91:17-92:3,

94:14-15.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      140.       Davy did not know how much money was collected by the Rybak Firm on behalf

of Big Apple. See Davy Dep., 183:2-5.

The Davy Defendants’ Response: The Davy Defendants admit the same.




                                                  42
      141.       The Rybak Firm issued 23 checks to the St. Louis and entities he controls including,

1 Brooklyn, Lakaye, Precise, and Lawrence Chiropractic, related to the funds that it received in the

name of Big Apple, which total more than $780,000.00. See Rybak Dep., Ex. 13, 86:2-99:2; Vanunu

Decl., ¶_____.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      142.       Rybak would contact St. Louis to advise that a check was being issued for him. See

Rybak Dep., 89:5-14.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      143.       St. Louis advised the Rybak Firm where checks would be distributed to for funds

obtained on behalf of Big Apple. See Rybak Dep., 97:11-21.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      144.       Specifically, the Rybak Firm issued: (i) 17 checks to 1 Brooklyn totaling

$691,457.44; (ii) one check to St. Louis for $6,049.22; (iii) two checks to Lakkaye totaling

$50,555.01; (iv) one check to Lawrence Chiropractic for $2,670.15; and (v) two checks to Precise

totaling $29,400.81. See Rybak Dep., Ex. 13; Vanunu Decl., ¶_____.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.



                                                  43
      145.       All Big Apple funds deposited into Rybak’s IOLA account were disbursed without

Davy’s knowledge and Davy did not know where those funds went. See Davy Dep., 179:12-20.

The Davy Defendants’ Response: The Davy Defendants admit the same.

      146.       Bank records relating to the St. Louis Defendants show that a significant portion of

the more than $780,000.00 that they received from the Rybak Law Firm was quickly converted to

cash. See Vanunu Decl., ¶ ______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      147.       1 Brooklyn issued 16 checks totaling $145,600.00 to an individual named Jean

Sauveur (“Sauveur”) between July 2021 and January 2022. See Vanunu Decl., ¶ ______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      148.       Precise issued 21 checks totaling $198,650.00 to Sauveur between of October 2021

and January 2022. See Vanunu Decl., ¶ ______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      149.       Lakaye issued 22 checks to Sauveur, totaling $192,850.00 between July 2021 and

January 2022. See Vanunu Decl., ¶ ______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.



                                                  44
      150.       St. Louis issued 7 checks, through his personal account, to Sauveur, totaling

$48,600.00, between July 2021 and October 2021. See Vanunu Decl., ¶ ______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      151.       Each of the checks issued to Sauveur was for an amount under $10,000.00 and was

cashed at a branch where the St. Louis Defendants bank. See Vanunu Decl., ¶ ______.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      152.       St. Louis, through 1 Brooklyn and Lawrence Chiropractic, also issued six separate

checks to Big Apple that were endorsed by Davy and deposited into Big Apple’s TD Bank account.

1 Brooklyn issued two checks, Check No. 1134 for $7,500.00 and Check No. 1165 for $7,500.00.

Lawrence Chiropractic issued four checks, Check No. 1003 for $7,500.00, Check No. 1010 for

$15,000.00, Check No. 1021 for $7,500.00, and Check No. 1052 for $4,883.00. See Vanunu Decl.

____; Davy Dep., Ex. 33, 235:8-25.

The Davy Defendants’ Response: The Davy Defendants lack knowledge or information sufficient

to form a belief as to the truth of this statement. Therefore, this is not an undisputed fact, and

Plaintiffs are put to their proof.

      153.       In addition, KLG issued two checks to Big Apple that were endorsed by Davy and

deposited into Big Apple’s TD Bank account. Specifically, Check No. 2724 for $23,518.40 and

Check No. 3413 for $7,291.22. See Vanunu Decl. ____; Davy Dep., Ex. 33, 235:8-25.

The Davy Defendants’ Response: The Davy Defendants admit the same.




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     154.       When asked whether these payments were Davy’s fee for the services as part of his

agreement with St. Louis, Davy invoked the Fifth Amendment privilege against self-incrimination.

See Davy Dep., 236:2-15, 237:22-240:16.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) The fact

that Dr. Davy in an abundance of caution invoked his Fifth Amendment privilege against self-

incrimination presents an evidentiary issue. Accordingly, the Davy Defendants do not respond to

this statement other than to respectfully refer the Court to the specific question posed by Plaintiffs

in response to which Dr. Davy so responded, and not Plaintiffs’ summary of the same.

V.      GEICO’s Payments

      155.      GEICO compiled a TIN Run setting forth the amount of payments that GEICO

voluntarily made based on claims submitted or caused to be submitted through Defendant Big

Apple Tax Identification Number XX-XXXXXXX and Hourglass Tax Identification Number 81-

1274883. See Asmus Decl. ¶___.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged evidence to which no response is required.

      156.      The TIN Run for the Davy PCs identified each of the payments GEICO issued to

Big Apple in connection with the claims that were submitted or caused to be submitted to GEICO

by the Defendants. See Asmus Decl. ¶___.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an



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assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged evidence to which no response is required.

        157.    Based upon the TIN Run of Big Apple, GEICO voluntarily paid Big Apple

$357,808.43 in reliance on Big Apple’s billing. See Asmus Decl. ¶ ___

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged evidence to which no response is required. However, The Davy

Defendants lack knowledge or information sufficient to form a belief as to the truth of this

statement to the extent that it is factual.

        158.    Based upon the TIN Run of Hourglass, GEICO voluntarily paid Hourglass

$123,424.70 in reliance on Hourglass’s billing, for which it claims recovery in this action. See

Asmus Decl. ¶___.

The Davy Defendants’ Response: Section IV.B.7(b) of the Individual Practices of The Hon.

Hector Gonzalez states that “[e]ach paragraph in the Local Rule 56.1 statement shall contain an

assertion of a material undisputed fact, not a description of evidence.” (Emphasis added.) This is

an improper statement of alleged evidence to which no response is required. However, The Davy

Defendants lack knowledge or information sufficient to form a belief as to the truth of this

statement to the extent that it is factual.

        159.    GEICO paid $481,233.13 in reliance on the facially valid billing submitted using

the name of the Davy PCs, reasonably believing that it had an obligation to do so. See Asmus Decl.

¶___.




                                               47
The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement, to the extent that it is factual. However,

GEICO’s claim regarding its alleged “reasonable belief” is not factual, and requires no response.

      160.      GEICO’s voluntary payments can be broken down as follows: (i) GEICO

voluntarily paid $91,306.57 between July 1, 2021 and September 30, 2021; (ii) GEICO voluntarily

paid $259,005.09 between October 1, 2021 and December 31, 2021; (iii) GEICO voluntarily paid

$89,066.83 between January 1, 2022 and March 31, 2022; (iv) GEICO voluntarily paid $25,741.79

between April 1, 2022 and June 30, 2022; (v) GEICO voluntarily paid $4,002.11 between July 1,

2022 and September 30, 2022; (vi) GEICO voluntarily paid $9,318.33 between October 1, 2022

and December 31, 2022; and (vii) GEICO voluntarily paid $2,792.41 between January 1, 2023 and

March 31, 2023. See Asmus Decl. ¶ ________.

The Davy Defendants’ Response:             The Davy Defendants lack knowledge or information

sufficient to form a belief as to the truth of this statement. Therefore, this is not an undisputed

fact, and Plaintiffs are put to their proof.

Dated: October 24, 2023
       Uniondale, New York

                                                        EISENBERG & CARTON


                                                               /s/ Lloyd M. Eisenberg
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                                                        Hourglass Medical Services




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